Case 14-31229-sgj15           Doc 58       Filed 03/31/14 Entered 03/31/14 16:08:43                      Desc Main
                                          Document      Page 1 of 3                                           BTXN l05a (rev.09/12)



                               UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF TEXAS

  In Re
           MtGox Co., Ltd. (aluaMtGox
           KK)                                               $
                                                             $       Case    No.:    I4-3I229
                                        Plaintiff(s)         $
                                                             $
       V                                                     $       AdversaryNo
                                                             $
                                        Defendant(s)         $
                                                             $




                          APPLICATION FOR ADMISSION PRO HAC VICE


   1       Name: Novak,                                          Vincent                        J
                       Last                                          First                          MI

  2        Firm Name.     Morrison & Foerster LLP

  J        Address: 425 Market Street
                      San Francisco, CA 94105


  4.       Phone: (415) 268-7000                                       FAx:    (41   5) 268-7522

           Email: VNovak@mofo.com

   5.      Name used to sign all pleadings:         Vincent J. Novak

   6.      Retained by:    Coinlab, lnc

   7       Admitted on612112006                                        and presently a member in good standing

           of the bar of the highest court of the state of California
           and issued the bar license number           of 233003

   8       Admitted to practice before the following courts
           Court:                                                             Admission Date.
           U.S. Bankruptcy Court (Northern District of California)            2t14t05
           U.S. Bankruptcy Court (Eastern District of California)             6/1 5/06
           U.S. Bankruptcy Court (Central District of California)             6122106
                                                                                                         Continued.
Case 14-31229-sgj15      Doc 58       Filed 03/31/14 Entered 03/31/14 16:08:43             Desc Main
                                     Document      Page 2 of 3



  9      Are you presently a member in good standing of the bars of the courts listed above?

         El Yes E No
         If "No," please list all courts which you   are no longer admitted to practice:




   10.   Have you ever been subject to a grievance proceeding or involuntary removal proceeding
         while a member of the bar of any state or federal court?
         !    YesENo
         If "Yes," please provide   details:




   11.   Other than minor traffic offenses, have you ever been charged, arrested, or convicted of      a
         criminal offense or offenses?
         E YesENo
         If "Yes," please provide   details:




   12.   Please list all cases in the United States Bankruptcy Court, Northern District of Texas in
         which you have filed forpro hac vice in the past three years:
         Date of Application              Case No. and Style
             None




   13.   Local counsel ofrecord:      Barry Barnett, Susman Godfrey L.L.P


   14.   Local counsets address: 901 Main Street Suite 5100 Dallas, TX75202-3775




                                                                                           Conlinued
Case 14-31229-sgj15         Doc 58    Filed 03/31/14 Entered 03/31/14 16:08:43             Desc Main
                                     Document      Page 3 of 3




          I respectfully request to be admitted to practice in the United States Bankruptcy Court for
  the Northern District of Texas for this cause only.

                             rcad Dondi Properties Corp. V Commerce Savs. & Loan Ass'n,l2l
           I certify that I have
  F.D.R. 284 (N.D. Tex. 1988) (en banc), and the local civil and bankruptcy rules of this court and
  will comply with the standards of practice adopted in Dondi and with the local civil and
  bankruptcy rules.

           tr
            I am an ECF filer. I also certify that I have served a true and correct copy of this
  document upon each attorney of record and filed the application via ECF with the payment of
  $2s.00

           AI am not an ECF filer. I also certify that I have served a true and correct copy of this
  document upon each attorney of record and the original upon the US Bankruptcy Court
  accompanied with the $25.00 filing fee on March 31,2014




   Vincent J. Novak                                                    March 37,2014
  Printed Name of Applicant                                            Date




   Signature of Applicant
